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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

IN RE: ULISES SANTIAGO
       BARAHONA                       :

MICHAEL G. WOLFF, TRUSTEE         :

    Appellant                             :

    v.                            : Civil Action No. DKC 2005-2122

                                  :
GERARDO BARAHONA, et al.
                                  :
    Appellees
                                 :
                          MEMORANDUM OPINION

    This case is before the court on appeal from the Order of

United States Bankruptcy Judge Paul Mannes denying the Appellant

Trustee’s motion for summary judgment on Counts I and II and

entering sua sponte      summary judgment in favor of Appellees

Ulises Santiago Barahona, Gerardo Barahona, and Sonia Barahona

on Count II of the Adversary Proceeding, Case no. 03-3100PM.

Oral argument is deemed unnecessary because the facts and legal

arguments are adequately presented in the briefs and record, and

the decisional process would not be significantly aided by oral

argument.   See Fed. R. Bankr. P. 8012.             For the reasons that

follow,   the   court   will   affirm     a   portion   of   the   bankruptcy

court’s ruling, and dismiss the remaining portion of the appeal.

I. Background
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       The following facts are stated in the light most favorable

to the Trustee, drawing all reasonable inferences from the

evidence in his favor.1          Edell & Assoc., P.C. v. Law Offices of

Angelos, 264 F.3d 424, 429 (4th Cir. 2001).            Sometime in the year

2000, Gerardo and Sonia Barahona, a married couple, decided to

purchase a home at 9 Staffordshire Court, Germantown (“the

property”), which had a purchase price of $129,000.                   Because

they did not have enough income to support a mortgage loan,

Gerardo asked his brother, Ulises Barahona, to co-sign a loan so

that Gerardo and Sonia could buy the property.                Ulises agreed.

In September 2000, the property was purchased, and Ulises signed

the promissory note.           The brothers contend that they had an

agreement that Ulises’ name would be removed within six months

to a year.        (Paper 1, ex. 13, deposition of Ulises, at 16, 26-

27).




       1The Trustee’s brief recites that, although he did not
accept as true the following facts leading up to Ulises’
decision to file for bankruptcy, he did not dispute them because
they “are not material to the Court’s ultimate decision.”
Unfortunately, the Trustee’s position is neither consistent nor
clear. In the Standard of Review section, he states that there
are no genuine issues of material fact, (paper 4, at 1), then
writes that he does not necessarily accept all of the facts
outlined in the bankruptcy court’s decision.     (Paper 4, at 5
n.1).  He later argues that the bankruptcy court’s denial of
summary judgment was inappropriate because there is an issue of
material fact in dispute. (Paper 4, at 8).

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    After buying the property, Gerardo deducted the expenses,

the mortgage, and the interest on his income taxes. (Transcript

of June 30, 2004 hearing, at 9).2            Ulises testified that he did

not pay any mortgage payments or property taxes, or claim the

property on his own taxes.             (Paper 1, ex. 13, deposition of

Ulises, at 29).     Initially, Gerardo and Sonia lived alone in the

property.    In January 2001, Ulises moved into the property after

he separated from his wife.            Ulises testified that he had an

agreement with Gerardo that he would pay $200 in rent, plus

utilities.       (Paper 1, ex. 13, deposition of Ulises, at 28.)

Ulises gave his brother checks that were marked for utilities or

rent.     (Paper    1,    ex.   15,    interrogatory      answer       of    Ulises

identifying      checks   written     to     his   brother,      at    4).     The

arrangement continued for about a year and a half.

    In December 2002, Ulises began to have financial problems

and to consider bankruptcy relief.            In January or February 2003,

Ulises sought bankruptcy advice from attorney Gwen Hickman.                     In

March 2003, Gerardo decided to remove Ulises’ name from the loan

after   Ulises    told    Gerardo     that   he    was   going    to    file   for



    2 The Trustee, as appellant, must provide a complete record
on appeal, see Fed. R. Bankr. P. 8006.      The record does not
contain copies of the tax returns referred to as exhibits in the
June 30, 2004, hearing and in the bankruptcy court’s ruling.
There is no evidence on the record, however, that contradicts
the existence or content of these tax records.

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bankruptcy relief.     (Paper 1, ex. 14, deposition of Gerardo, at

9).   On May 22, 2003, Ulises and Gerardo executed a deed that

took Ulises’ name off the property and replaced his name with

the name of Sonia Barahona.      According to the deed, the property

was conveyed for “no consideration.”         (Paper 1, ex. 11, Deed).

On the date of the conveyance, the property’s fair market value

was at least $228,000.        The deed conveying the property from

Ulises and Gerardo to Gerardo and Sonia was not recorded until

November 5, 2003, in the land records of Montgomery County.

      On June 5, 2003, fourteen days after the conveyance, Ulises

filed a bankruptcy petition.        The parties have stipulated that

Ulises was insolvent during the period between the transfer of

the property and the date he filed for bankruptcy.              (Paper 1,

ex. 13,   deposition of Ulises, at 51).

      In bankruptcy court, the Trustee sought to avoid the May 22,

2003, conveyance to Gerardo and Sonia by filing an adversary

proceeding claiming that the conveyance was fraudulent.                On

March 15, 2004, the Trustee filed an amended complaint that

added a count seeking avoidance of a post-petition transfer

because the deed transferring the property to Gerardo and Sonia

was filed in the land records of Montgomery County five months

after Ulises filed for bankruptcy.           The Trustee also filed a

motion for partial summary judgment on Count I (avoidance of a


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post-petition transfer) and Count II (avoidance of a fraudulent

conveyance) on his amended complaint.             The Trustee did not

request summary judgment on Count III, in which he sought to

sell the property free and clear of Gerardo Barahona’s interest.

      After a hearing on June 30, 2004, the court ruled on July

22, 2004, denying the Trustee’s motion for summary judgment and

granting summary judgment sua sponte in favor of Appellees as to

Count II.    Specifically, on Count I to avoid a post-petition

transfer,   the   bankruptcy    court   denied   the   Trustee’s       motion

because there was a material fact in dispute as to whether the

deed was presented to the Montgomery County Clerk’s Office

before Ulises’ bankruptcy case was filed.          On Count II to avoid

a pre-petition fraudulent conveyance, the bankruptcy court held

that there was no fraudulent transfer, that Ulises “had bare

legal title and nothing more,” and that there was no bad faith

on the part of Gerardo and Sonia.

      Because the Order did not dispose of all issues, the Trustee

filed a motion for Rule 54(b) certification in order to pursue

an appeal in district court.        On June 21, 2005, the bankruptcy

court entered an order granting the Trustee’s motion, and this

appeal followed.

II.   Rule 54(b) Certification




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    Bankruptcy Rule 7054 makes Fed.R.Civ.P. 54(b) applicable in

bankruptcy adversary proceedings.         See Reiter v. Cooper, 507

U.S. 258, 265 n.2 (1993).       Rule 54(b) allows a court to enter

final judgment on one or more claims in a multi-claim action,

even where other claims remain unresolved, thereby allowing an

appeal.     Braswell Shipyards, Inc. v. Beazer East, Inc., 2 F.3d

1331, 1335 (1993).     Rule 54(b) certification is the exception

rather than the norm, and it should not be granted routinely or

as an accommodation to counsel.          Id.     Whether a Rule 54(b)

certification is properly granted involves a two-step analysis.

First, the judgment must be final “in the sense that it is ‘an

ultimate disposition of an individual claim entered in the

course of a multiple claims action.’”             Id. (quoting Sears,

Roebuck & Co. v. Mackey, 351, U.S. 427, 436 (1956)).              Second,

there must be no just reason for the delay in entering the

judgment.       Braswell    Shipyards,    2    F.3d   at   1335   (citing

Curtis-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 (1980)).

An appellate court reviews the Rule 54(b) certification for an

abuse of discretion.       Braswell Shipyards, 2 F.3d at 1336.

    The bankruptcy court held that the Order entered July 22,

2004, was final, and that there was no just reason for delay.

Because Ulises’ interest in the property is a threshold question



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relevant to all of the Trustee’s claims, there was no abuse of

discretion in granting the Trustee’s Rule 54(b) certification.

The only portion of the decision that is sufficiently final at

this juncture is the entry of summary judgment in favor of

Appellees on Count II.        With respect to Count I, the bankruptcy

court denied the Trustee’s motion because there was a material

fact   in   dispute;   the    bankruptcy      court’s     ruling    on   Count   I

therefore     did   not      end   the       litigation    on      the   merits.

Accordingly, the denial of summary judgment on Count I is not an

ultimate disposition, and cannot be the subject of a Rule 54(b)

certification.




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III.            Standard of Review

       On appeal from the bankruptcy court, the district court acts

as    an    appellate       court    and   reviews        the   bankruptcy   court’s

findings of fact for clear error and conclusions of law de novo.

See In re Johnson, 960 F.2d 396, 399 (4th Cir. 1992); Travelers

Ins. Co. v. Bryson Prop., XVIII (In re Bryson Prop., XVIII), 961

F.2d 496, 499 (4 th Cir.), cert. denied sub nom., Bryson Prop.,

XVIII v. Travelers Ins. Co., 506 U.S. 866 (1992).

       A motion for summary judgment will be granted only if there

exists no genuine issue as to any material fact and the moving

party      is    entitled    to     judgment   as    a     matter   of   law.     See

Fed.R.Civ.P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 250 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986).         In other words, if there clearly exist factual issues

“that properly can be resolved only by a finder of fact because

they may reasonably be resolved in favor of either party,” then

summary judgment is inappropriate.                  Anderson, 477 U.S. at 250;

see also Pulliam Inv. Co. v. Cameo Properties, 810 F.2d 1282,

1286 (4th Cir. 1987); Morrison v. Nissan Motor Co., 601 F.2d 139,

141     (4 th    Cir.   1987).        Although      the    court    must   draw   any

permissible inference from the underlying facts in the light

most favorable to the party opposing the motion, the opposing


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party “must satisfy the burden of proof by offering more than a

mere     ‘scintilla’     of   evidence,     and     must    produce       evidence

sufficient     for   a   reasonable     jury   to    find   in    [his]    favor.”

Russell v. Microdyne Corp., 65 F.3d 1229, 1239-40 (4 th Cir.

1995).

IV.    Analysis

       Under the Bankruptcy Code, the debtor’s estate consists of

“all legal or equitable interests in the debtor in property as

of the date of the commencement of the case.”                      11 U.S.C. §

541(a)(1).      The estate does not include “property in which the

debtor holds, as of the commencement of the case, only legal

title and not an equitable interest.”               11 U.S.C. § 541(d).        The

trustee     cannot   take     greater    rights     than    the    debtor     had,

Mid-Atlantic Supply, Inc. of Va. v. Three Rivers Aluminum Co.,

790 F.2d 1121, 1124 (4th Cir. 1986); this limitation applies to

property held in trust, see id. at 1126 (“[I]f a trust, whether

express, statutory or constructive, is established over property

in the possession of the trustee or debtor in possession, the

‘sole permissible administrative act’ of the trustee or debtor

in possession is to pay over or endorse over the property to the

beneficiary or beneficiaries of the trust.”).                Thus, the nature

of Ulises’ interest in the property is a threshold issue.



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      State law determines the nature of the debtor’s interest for

purposes of the § 541(d) exclusion.        Mid-Atlantic Supply, Inc.,

790 F.2d at 1125; In re Dameron, 155 F.3d 718, 722 (4 th Cir.

1998).    Maryland law recognizes that a resulting trust may arise

based on the intention of the parties.        See, e.g., Lacey v. Van

Royen, 259 Md. 80, 86 (1970); Levin v. Sec. Fin. Ins. Corp., 246

Md. 712, 718 (1967); Sines v. Shipes, 192 Md. 139, 153 (1949).

“A resulting trust arises only when the legal title is in one

person and the beneficial interest is wholly or partially in

another.”      Sands v. Church of Ascension & Prince of Peace, 181

Md. 536, 543 (1943).      See also Siemiesz v. Amend, 237 Md. 438,

441   (1965)    (“A   resulting   trust   arises   upon    the   presumed

intention of the parties where the terms of the disposition or

accompanying facts establish that beneficial interest is not to

go with legal title.”).     The existence of a resulting trust must

be established “by evidence showing a clear intention of the

trust.”    Lacey, 259 Md. at 86.    The transaction is judged “as of

its date, and not upon the basis of facts occurring subsequent

to that date,”        id. at 89, although “[t]he conduct of the

parties with relation to the possession of the realty and the

benefits and burdens thereof, after the delivery of the deed, is

important as corroborating or contradicting the presumption of



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a trust.”    Taylor v. Mercantile-Safe Deposit & Trust Co., 269

Md. 531, 540 (1973).

    Here, the bankruptcy court found that Ulises had only bare

legal title to the property.

            Debtor    accommodated   his   brother   and
            sister-in-law by co-signing the mortgage.
            The Debtor’s tax returns disclose that, as
            between the two, there is no conclusion that
            could be reached other than Debtor had bare
            legal title and nothing more. The Property
            was continuously handled between the two of
            them as if Gerardo Barahona owned the
            Property.    The court finds nothing in the
            record to indicate any lack of good faith on
            the behalf of Gerardo and Sonia Barahona.

(Paper 1, ex. 21, at 5).    The Trustee argues that the “mere fact

that the Property was purchased with the proceeds of a loan to

both Gerardo and [Ulises] strongly suggests that a portion of

the purchase price was provided by the Debtor and, as a result,

the Debtor had more than bare legal title and a resulting trust

should not apply.”     (Paper 4, at 7-8).       The record, however,

only supports Appellees’ assertion that the parties’ intent from

the beginning was for Ulises to have only bare legal title on a

temporary basis.    Appellees’ conduct after the conveyance (i.e.

the fact that Gerardo, not Ulises, deducted expenses relating to

the property on his taxes) shows that there was no intent for

Ulises to have more than bare legal title.



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     The Trustee further argues that, “[a]t a minimum, the issue

is   an issue of fact that has not been established by the

defendants by clear and convincing evidence.”                  (Paper 4, at 8).

The Trustee has not come forward with evidence that contradicts

Appellees’ assertions, even though, as found by the bankruptcy

court,    he   had   opportunity       to   do   so   during    the    adversary

proceeding.       Discovery had taken place, including the answering

of interrogatories, the production of documents, and the taking

of depositions.          The Trustee has not identified any source of

information he has been unable to access that would call the

evidence into question.

     Accordingly, the bankruptcy court did not err.                   There is no

dispute of fact and the following legal conclusion that Ulises

had bare legal title is correct.             Because Ulises had only bare

legal    title,    the    bankruptcy    court    properly      granted   summary

judgment in favor of Appellees on Count II and that portion of

the bankruptcy court’s ruling will be affirmed.                       A separate

Order will follow.




                                            _____/s/ ___________________
                                            DEBORAH K. CHASANOW
                                            United States District Judge




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